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                      UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF TEXAS
                             AUSTIN DIVISION

 SCOTT LOUIS PANETTI
                                          §
          Petitioner
                                          §
                                                    CASE NO. 1:04-CV-00042-RP
                                          §
 V.                                       §
                                                    * DEATH PENALTY CASE *
                                          §
                                          §
 BOBBY LUMPKIN,
                                          §
 Director, Texas Department
                                          §
 of Criminal Justice,
                                          §
 Correctional Institutions
                                          §
 Division
                                          §
           Respondent.


          ADVISORY ON REOPENING FEDERAL PROCEEDINGS

      On June 23, 2021, the Texas Court of Criminal Appeals (CCA) dismissed Scott

Panetti’s Subsequent Application for Writ of Habeas Corpus based on false scientific

testimony about future dangerousness. Ex. 1. That same day, the CCA denied Scott

Panetti’s Suggestion for Reconsideration based on an earlier claim raising an Eighth

Amendment violation under Indiana v. Edwards, 554 U.S. 164 (2008). Ex. 2. Under

the procedures set out in this Court’s orders of October 22, 2018, and May 21, 2021,

Scott Panetti must return to federal court within 45 days of the state court’s denial

of his claims. ECF Nos. 208, 237. Before the parties submit a joint proposed

scheduling order, however, this Court should address the recent disclosure of

evidence that calls into question the integrity of the 2008 federal evidentiary hearing

on Scott Panetti’s competency-to-be-executed claim.




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      On March 31, 2021, the Florida Department of Health issued an order

imposing an emergency restriction on Dr. Alan J. Waldman’s license to practice as a

medical doctor. Ex. 3. The State of Texas had retained Dr. Waldman in 2007 to

evaluate Scott Panetti for execution competency and testify as its expert at the 2008

federal evidentiary hearing. The Department of Health found that Dr. Waldman has

been addicted to opioid pain medication, including oxycodone and hydrocodone, for at

least the past 19 years. Id. at ¶¶ 3–7. The Department of Health noted that abuse of

oxycodone and hydrocodone can lead to “severe psychological or physical

dependence.” Id. at ¶ 3 nn.1, 2. In addition, the Department of Health found that

when Dr. Waldman worked as a forensic neuropsychiatrist, he “would occasionally

take narcotic medication prior to testifying to avoid experiencing symptoms of

withdrawal while testifying.” Id. at ¶ 11. A physician specializing in addiction

medicine evaluated Dr. Waldman and found that “Dr. Waldman’s consumption of

high-dose opioid over the course of decades, in addition to his prescribed psychoactive

and potentially neurotoxic agents such as Adderall and Valium, could affect Dr.

Waldman’s neurological health.” Id. at ¶ 22. The addiction medicine specialist

concluded that “Dr. Waldman is unable to practice as a medical doctor with

reasonable skill and safety to patients.” Id. at ¶ 24.

      In the 2008 evidentiary hearing, the Honorable Sam Sparks placed great

weight on Dr. Waldman’s testimony in finding that Scott Panetti had a rational

understanding of the connection between his crime and his punishment. Panetti v.




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Quarterman, No.A-04-CA-042-SS, 2008WL2338498, at *24–*26, *36 (W.D. Tex. Mar.

26, 2008). Judge Sparks explained that:

      Panetti has often expressed his feeling that the death penalty is wrong
      in his case because he was schizophrenic when he killed his in-laws. As
      he told Dr. Waldeman [sic], “You treat mental illness.” In other words,
      Panetti understands he is being executed to punish him for killing his
      in-laws, but feels the state is not justified in taking this position because
      of his mental illness.
                                            ….
      [H]is delusions do not prevent his rational understanding of the causal
      connection between those murders and his death sentence, and he in
      fact has such an understanding. Panetti’s understanding of the causal
      connection between his crime and his punishment is most clearly
      demonstrated by his rationally articulated position that the punishment
      is unjustified: He believes the State should not execute him because he
      was mentally ill when he committed the murders. This position is based
      on and necessarily indicates a rational understanding that the State
      intends to execute him because he committed the murders.

Id. at *36 (citation omitted). Upholding the district court’s denial of the Ford claim,

the Fifth Circuit gave “great deference” to Judge Sparks’s decision crediting Dr.

Waldman’s testimony that Scott Panetti’s belief he should not be executed because

he was mentally ill when he committed the murders demonstrates his rational

understanding. Panetti v. Stephens, 727 F.3d 398, 410–11 (5th Cir. 2013) (internal

quotation marks omitted).

                                   CONCLUSION

      The recent order of the Florida Department of Health regarding the decades’

long opioid addiction of Dr. Waldman raises troubling questions, including whether

his participation in Scott Panetti’s case caused a defect in the integrity of these

federal habeas corpus proceedings. For this reason, Counsel for Scott Panetti asks for

30 days to file a motion in this Court seeking relief related to the evidence contained



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in the order imposing an emergency restriction on Dr. Waldman’s medical license.

The State is not opposed to this proposal.



                                       Respectfully submitted,


                                       s/ Gregory W. Wiercioch
                                       GREGORY W. WIERCIOCH

                                       Counsel for Petitioner Scott Louis Panetti
                                       Texas Bar No. 00791925

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                           CERTIFICATE OF SERVICE

      I certify that on this 9th day of August 2021, I electronically filed the foregoing
advisory with the clerk of the court for the U.S. District Court, Western District of
Texas, using the electronic case filing system. A “Notice of Electronic Filing” was sent
to Counsel for Respondent at the following e-mail address:

Rachel L. Patton
Assistant Attorney General
rachel.patton@oag.texas.gov

                                                      s/ Gregory W. Wiercioch




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           IN THE COURT OF CRIMINAL APPEALS
                       OF TEXAS
                                   NO. WR-37,145-05



                  EX PARTE SCOTT LOUIS PANETTI, Applicant



  ON APPLICATION FOR POST-CONVICTION WRIT OF HABEAS CORPUS
     IN CAUSE NO. 3310-D IN THE 216TH JUDICIAL DISTRICT COURT
                         GILLESPIE COUNTY

       Per curiam.

                                        ORDER

       This is a subsequent application for a writ of habeas corpus filed pursuant to the

provisions of Texas Code of Criminal Procedure Article 11.071 § 5.

       In September 1995, a jury found Applicant guilty of the offense of capital murder.

The jury answered the special issues submitted pursuant to Texas Code of Criminal

Procedure Article 37.071, and the trial court, accordingly, set Applicant’s punishment at

death. This Court affirmed Applicant’s conviction and sentence on direct appeal. Panetti

v. State, No. AP-72,230 (Tex. Crim. App. Dec. 3, 1997) (not designated for publication).




                                                                                   EX. 1
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                                                                                  Panetti - 2

This Court denied relief on Applicant’s initial post-conviction application for a writ of

habeas corpus. Ex parte Panetti, No. WR-37,145-01 (Tex. Crim. App. May 28, 1998)(not

designated for publication). This Court also dismissed three subsequent applications for

writs of habeas corpus because they failed to meet the dictates of Article 11.071 § 5. Ex

parte Panetti, No. WR-37,145-02 (Tex. Crim. App. Oct. 21, 2009)(not designated for

publication), 326 S.W.3d 615 (Tex. Crim. App. 2010), and No. WR-37,145-04 (Tex.

Crim. App. 2014). Applicant filed this, his fourth subsequent application, in the trial court

on December 2, 2019.

       In this application, Applicant asserts that his death sentence “violates due process

because it was secured through false scientific testimony about his future dangerousness.”

We have reviewed the application and find that Applicant has failed to satisfy the

requirements of Article 11.071 § 5. Accordingly, we dismiss the application as an abuse

of the writ without reviewing the merits of the claim. Art. 11.071 § 5(c).

       IT IS SO ORDERED THIS THE 23RD DAY OF JUNE, 2021.

Do Not Publish




                                                                                     EX. 1
  Case 1:04-cv-00042-RP       Document
             OFFICIAL NOTICE FROM COURT OF238   Filed
                                          CRIMINAL    08/09/21
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                                                           OF TEXASPage 8 of 19
                  P.O. BOX 12308, CAPITOL STATION, AUSTIN, TEXAS 78711




6/23/2021
PANETTI, SCOTT LOUIS          Tr. Ct. No. 3310-B                 WR-37,145-02
This is to advise that the applicant’s suggestion for reconsideration has been
denied without written order.
                                                        Deana Williamson, Clerk

                            SCOTT LOUIS PANETTI
                            C/O GREGORY W. WIERCIOCH
                            UNIVERSIT OF WISCONSIN LAW SCHOOL
                            975 BASCOM MALL
                            MADISON, WI 53706



                                                                         EX. 2
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                                                        Final Order 19DOH-21-0333[:120-MQA
                                                                      FILED DATE -    MAR3 1 202.1
                                                                      /\ Department of Health

                                                                By:   Lu.,{LU       <)?11.{cue.A
                                                                         Deputy Agency Clerk

                          STATE OF FLORIDA
                        DEPARTMENT Of HEALTH

In Re: Emergency Restriction of the License of
       Alan J. Waldman, M.D.
       License No.: ME 51766
       Case Number: 2021-03117

            ORDEROF EMERGENCYRESTRICTIONOF LICENSE

      Scott A. Rivkees, M.D., State Surgeon General, ORDERS the

emergency restriction of the license of Alan J. Waldman, M.D., (Dr.

Waldman) to practice as a medical doctor in the State of Florida.                    Dr.

Waldman holds license number ME 51766. His address of record is 10046

Southwest 44th Lane, Gainesville, Florida 32608. The following Findings of

Fact and Conclusions of Law support the emergency restriction of Dr.

Waldman's license to practice as a medical doctor in the State of Florida.

                             FINDINGSOF FACT

      1.   The Department of Health (Department) is the state agency

charged with regulating the practice of medicine pursuant to chapters 20,

456, and 458, Florida Statutes (2020). Section 456.073(8), Florida Statutes

(2020), authorizes the Department to summarily restrict Dr. Waldman's

license to practice as a medical doctor in the State of Florida, in accordance

with section 120.60(6), Florida Statutes (2020).




                                                                                   EX. 3
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                                                         In Re: Emergency Restriction of the License of
                                                                Alan J. Waldman, M.D.
                                                                License No.: MD 51766
                                                                Case Number: 2021-03117


        2.      At all times material to this Order, Dr. Waldman was licensed to

practice as a medical doctor in the State of Florida, pursuant to chapter 458.

        3.      In the 1990s, Dr. Waldman suffered from multiple medical

conditions that caused pain. Dr. Waldman received pain management

treatment and was treated with various controlled substances and legend

drugs, including oxycodone1 and hydrocodone,2 for his medical conditions.

        4.      In May 2002, Dr. Waldman underwent a comprehensive pain

management evaluation with John B. Hunt, M.D., (Dr. Hunt) due to his

chronic pain.

        5.      Dr. Hunt opined that Dr. Waldman experienced opioid adaption

and tolerance with an increased use of schedule III narcotics to control pain.

        6.      Dr. Hunt recommended that Dr. Waldman undergo treatment at

a multidisciplinary tertiary care facility and receive care from Dr. Robert

Guskiewicz, M.D., a physician specializing in pain management.



1 Oxycodone is commonly prescribed to treat pain. According to section 893.03(2), Florida Statutes (2001-

2020), oxycodone is a Schedule II controlled substance that has a high potential for abuse and has a
currently accepted but severely restricted medical use in treatment in the United States. Abuse of
oxycodone may lead to severe psychological or physical dependence.
2 Hydrocodone is commonly prescribed to treat pain. According to section 893.03(2), hydrocodone is a

Schedule II controlled substance that has a high potential for abuse and has a currently accepted but
severely restricted medical use in treatment in the United States. Abuse of hydrocodone may lead to severe
psychological or physical dependence.


                                                    2



                                                                                                    EX. 3
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                                                          In Re: Emergency Restriction of the License of
                                                                 Alan J. Waldman, M.D.
                                                                 License No.: MD 51766
                                                                 case Number: 2021-03117


         7.      For approximately 19 years, Dr. Waldman received pain

management care from Dr. Guskiewicz.

         8.      From approximately 2011 to 2019, Dr. Waldman was prescribed

oxycodone, MS Contin,3 Adderall4 and Valium.5

        9.       Dr. Waldman took Adderall 60 mg in the morning, MS Cantin 600

mg and oxycodone 60 mg after work, MS Cantin 300 mg and oxycodone 60

mg after dinner, and Valium 30 mg before bed.

        10.      In 2019, Dr. Waldman transferred care to Mark Jackson, M.D.,

(Dr. Jackson) a physician specializing in addiction medicine.

        11.      Dr. Waldman             reported that           he worked           as a forensic

neuropsychiatrist and would occasionally take narcotic medication prior to

testifying to avoid experiencing symptoms of withdrawal while testifying.




3
  MS Cantin is the brand name for a drug that contains morphine and is prescribed to treat pain. According
to Section 893.03(2), morphine is a Schedule II controlled substance that has a high potential for abuse
and has a currently accepted but severely restricted medical use in treatment in the United States. Abuse
of morphine may lead to severe psychological or physical dependence.
4 Adderall is the brand name for a drug that contains amphetamine, commonly prescribed to treat

attention deficit disorder. According to section 893.03(2), amphetamine is a Schedule II controlled
substance that has a high potential for abuse and has a currently accepted but severely restricted
medical use in treatment in the United States. Abuse of amphetamine may lead to severe psychological
or physical dependence.
5 Valium is the brand name for diazepam and is prescribed to treat anxiety. According to section 893.03( 4),
Florida Statutes (2010-2020), diazepam is a Schedule N controlled substance that has a low potential for
abuse relative to the substances in Schedule III and has a currently accepted medical use in treatment in
the United States. Abuse of diazepam may lead to limited physical or psychological dependence relative
to the substances in Schedule III.

                                                     3


                                                                                                      EX. 3
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                                                      In Re: Emergency Restriction of the License of
                                                             Alan J. Waldman, M.D.
                                                             License No.: MD 51766
                                                             Case Number: 2021-03117


        12.     On or about May 18, 2020, Dr. Jackson referred Dr. Waldman to

the Professional Resources Network (PRN6) based on Dr. Waldman's

medication use and misuse. Dr. Jackson stated that Dr. Waldman works in a

"safety sensitive position" and is in great risk of overdose due to the

combination of his medications.

        13.     Dr. Jackson recommended that                       Dr. Waldman            undergo

detoxification.

        14.    On or about August 10, 2020, Dr. Waldman entered Gateway

Community Services for detoxification treatment.

        15.    On August 14, 2020, Dr. Waldman discontinued his detoxification

treatment against medical advice.

        16.    On or about August 25, 2020, Dr. Waldman informed PRN that

he became very ill while in treatment and could not tolerate the severity of

the opioid withdrawal symptoms.




6 The Professional Resource Network is the impaired practitioner program for the Board of Medicine,
pursuant to section 456.073, Florida Statutes (2019-2020). PRN monitors the evaluation, care, and
treatment of impaired practitioners licensed by the Department. PRN oversees random drug screens and
provides for the exchange of information between treatment providers, evaluators, and the Department
for the protection of the public.

                                                 4


                                                                                                EX. 3
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                                         In Re: Emergency Restriction of the License of
                                                Alan J. Waldman, M.D.
                                                License No.: MD 51766
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      17.   On September 28, 2020, Dr. Waldman entered into another

detoxification program at Stepping Stone Center for Recovery (Stepping

Stone).

      18.   On or about October 5, 2020, Stepping Stone discharged Dr.

Waldman. He was diagnosed with moderate opioid use disorder; mild

sedative, hypnotic, or anxiolytic use disorder; and unspecified stimulant use

disorder.

      19.   Stepping Stone opined that Dr. Waldman is unsafe to practice

medicine with reasonable skill and safety to patients.

      20.   On November 30, 2020, Jamie Smolen, M.D., (Dr. Smolen) a

physician specializing in addiction ·medicine, evaluated Dr. Waldman,

pursuant to PRNand Lakeview Health's requests.

     21.    During the evaluation, Dr. Waldman stated that he is prescribed

Adderall but has stopped taking it. Dr. Elias Sarkis, Dr. Waldman's treating

physician, stated that it was prescribed to overcome sedation from the other

narcotic medications that Dr. Waldman is prescribed.

     22.    Dr. Smolen opined that Dr. Waldman's consumption of high-dose

opioid over the course of decades, in addition to his prescribed psychoactive


                                     5



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                                                Alan J. Waldman, M.D.
                                                License No.: MD 51766
                                                case Number:2021-03117

and potentially neurotoxic agents such as Adderall and Valium, could affect

Dr. Waldman's neurological health.

      23.   Dr. Smolen diagnosed Dr. Waldman with moderate opioid use

disorder, mild sedative/hypnotic/anxiolytic use disorder, and unspecified

stimulant use disorder.

      24.   Dr. Smolen opined that Dr. Waldman is unable to practice as a

medical doctor with reasonable skill and safety to patients.

     25.    Dr. Smolen recommended that            Dr. Waldman enter into

treatment at a residential or partial hospitalization program (PHP) level of

care with a housing component at a facility with expertise in treating

healthcare professionals, undergo a neuropsychological evaluation with

neurocognitive testing, and undergo a chronic pain evaluation.

     26.    On or about January 22, 2021, PRN requested Dr. Waldman to

submit a voluntary withdrawal from practice.

     27.    As of the date of this Order, Dr. Waldman has failed to return a

voluntary withdrawal from practice and has failed to engage in the

recommended treatment.




                                     6



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                                                  Alan J. Waldman, M.D.
                                                  License No.: MD 51766
                                                  case Number: 2021-03117


      28.   In the course of their practice, medical doctors are entrusted

with the lives of patients. Medical doctors must possessgood judgment, be

able to recognize abnormal signs or symptoms of patients, and provide

emergency care when needed. As such, physical and mental stability are

essential traits that medical doctors must possess in order to competently

practice their profession becauseeven the smallest error in judgment can be

fatal. It is crucial that the judgment and critical thinking skills of a medical

doctor are not impaired in high pressure situations.

      29.   An independent medical expert has determined that Dr.

Waldman is unable to practice as a medical doctor with reasonable skill and

safety to patients due to his moderate opioid use disorder, mild

sedative/hypnotic/anxiolytic use disorder, and unspecified stimulant use

disorder. Based on that opinion and Dr. Waldman's failure to return a

voluntary withdrawal from practice and failure to engage in the

recommended treatment, there are no less-restrictive means than the terms

outlined in this Order which will adequately protect the public.




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                                           In Re: EmergencyRestrictionof the Licenseof
                                                  Alan J. Waldman, M.D.
                                                  LicenseNo.: MD 51766
                                                  case Number: 2021-03117

                           CONCLUSIONS
                                     OF LAW

      Based on the foregoing Findings of Fact, the State Surgeon General

concludes as follows:

      1.    The State Surgeon General has jurisdiction over this matter

pursuant to sections 20.43 and 456.073(8) and chapter 458, as set forth

above.

      2.    Section 458.331(1)(s), Florida Statutes (2020), authorizes

discipline, including restriction, against a medical doctor for being unable to

practice as a medical doctor with reasonable skill and safety to patients by

reason of illness or use of alcohol, drugs, narcotics, or chemicals or any other

type of material or as a result of any mental or physical condition.

      3.    Dr. Waldman violated section 458.331(1)(s) by being unable to

practice as a medical doctor with reasonable skill and safety to patients due

to his moderate opioid use disorder, mild sedative/hypnotic/anxiolytic use

disorder, and unspecified stimulant use disorder.

     4.     Section 120.60(6) authorizes the Stat~ Surgeon General to

summarily restrict a medical doctor's license upon a finding that the medical




                                       8


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                                           In Re: Emergency Restriction of the Licenseof
                                                  Alan J. Waldman, M.D.
                                                  License No.: MD 51766
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doctor presents an immediate, serious danger to the public health, safety,

or welfare.

      5.      Dr. Waldman's continued unrestricted practice as a medical

doctor constitutes an immediate, serious danger to the health, safety, or

welfare of the citizens of the State of Florida, and this summary procedure

is fair under the circumstances to adequately protect the public.

      WHEREFORE, in accordance with section 120.60(6), it is ORDERED

THAT:

      1.      The license of Alan J. Waldman, M.D., to practice as a medical

doctor, license number ME 51766, is immediately restricted to prohibit Dr.

Waldman from practicing as a medical doctor until PRN or a PRN-approved

evaluator notifies the Department that he is safe to return to the practice of

medicine.

     2.       A proceeding seeking formal discipline of the license of Alan J.

Waldman, M.D., to practice as a medical doctor in the State of Florida will

be promptly instituted and acted upon in compliance with sections 120.569

and 120.60(6), Florida Statutes (2020).




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                                                                                   EX. 3
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                                       In Re: EmergencyRestrictionof the Licenseof
                                              Alan J. Waldman,M.D.
                                              LicenseNo.: MD 51766
                                              CaseNumber: 2021-03117
                                  w
     DONE and ORDERED this$\           day of   ~'>ti(..~,              2021.




                                 Scott A. Rivkees,M..
                                 State SurgeonGeneral


PREPARED    BY:
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                                          In Re: Emergency Restriction of the License of
                                                 Alan J. Waldman, M.D.
                                                 License No.: MD 51766
                                                 case Number: 2021-03117


               NOTICEOF RIGHTTO JUDICIAL REVIEW

      Pursuant to sections 120.60(6) and 120.68, Florida Statutes (2020),

the Department's findings of immediate danger, necessity, and procedural

fairness shall be judicially reviewable. Review proceedings are governed by

the Florida Rules of Appellate Procedure. Such proceedings are commenced

by filing a Petition for Review, in accordance with Florida Rule of Appellate

Procedure 9.100, and accompanied by a filing fee prescribed by law with the

District Court of· Appeal, and providing a copy of that Petition to the

Department of Health within thirty (30) days of the date this Order is filed.




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                                                                                   EX. 3
